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AO 245B (Re·v. 09/19)   Judgment in a Criminal Case
                        Sheet I



                                          UNITED STATES DISTRICT COURT
                                                            Eastern District of Arkansas
                                                                           )                                                                OEP CLERK
              UNITED STA TES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL CASE
                                   V.                                      )
                                                                           )
                        Prentice Daniels                                   )       Case Number:           2:21-CR-57-JTR
                                                                           )       USM Number:            12817-010
                                                                           )
                                                                           )           Chris Tarver
                                                                           )       Defendant's Attorney
THE DEFENDANT:
ill pleaded guilty to count(s)          1 of the Misdemeanor Information, a Class A misdemeanor
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended
18 U.S.C. § 1791(a)(2)             Possession of Prohibited Object in Prison - Cell Phone                     1/24/2021                     1




       The defendant is sentenced as provided in pages 2 th.rough         _ _4_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
0 Count(s)                                               0 is      0 are dismissed on the motion of the United States .

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                            8/18/2021
                                                                         Date of Imposition of Judgment




                                                                         Signature o




                                                                                        J. Thomas Ray, U.S. Magistrate Judge
                                                                         Name and Title of Judge


                                                                                                    ~c,1r \C\ , 2021
                                                                         Date
                            Case 2:21-cr-00057-JTR Document 7 Filed 08/19/21 Page 2 of 4
AO,245B (Re~. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                      Judgment -   Page   2    of   4
 DEFENDANT: Prentice Daniels
 CASE NUMBER: 2:21-CR-57-JTR

                                                             IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
                 ten (10) months to run consecutive to the sentence being served. Upon completion,
                 there will not be a period of supervised release.


      D The court makes the following recommendations to the Bureau of Prisons:




     Ill   The defendant is remanded to the custody of the United States Marshal.

     D     The defendant shall surrender to the United States Marshal for this district:

           D at                                  D    a.m.     D   p.m.         on

           D   as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D   before 2 p.m. on

           D   as notified by the United States Marshal.

           D   as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows :




           Defendant delivered on                                                          to

at - - - - - - - - - - -- -- - - , with a certified copy of this judgment.



                                                                                                   UNITED ST ATES MARSHAL


                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
                             Case 2:21-cr-00057-JTR Document 7 Filed 08/19/21 Page 3 of 4
AO 245B (Re,v. 09/19)   Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                                Judgment -   Page       3      of      4
 DEFENDANT: Prentice Daniels
 CASE NUMBER: 2:21-CR-57-JTR
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution                 Fine                       AV AA Assessment*               JVT A Assessment**
TOTALS             $    25.00                $   0.00                    $   0.00                   $   0.00                        $   0.00


0     The detennination ofrestitution is deferred until
                                                        -----
                                                              . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination .

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S .C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                                    Total Loss***                      Restitution Ordered             Priority or Percentage




                                                                 0.00
TOTALS                                $                                             $
                                                                                        - - - - - -- -0.00
                                                                                                       --

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      O    the interest requirement is waived for the            D   fine     O     restitution.

      O    the interest requirement for the         O     fine       O   restitution is modified as follows:

* Amy, Vicky, find Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters                 l 09A, 110, I I OA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                             Case 2:21-cr-00057-JTR Document 7 Filed 08/19/21 Page 4 of 4
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                         Judgment -   Page   __4___ of        4
 DEFENDANT: Prentice Daniels
 CASE NUMBER: 2:21-CR-57-JTR

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      It)                        25.00
             Lump sum payment of$ ~ ~ ~ - - - - due immediately, balance due

             D     not later than                                , or
             D     in accordance with     D C,       D D,     D E,or       D F below; or
B      D Payment to begin immediately (may be combined with              • c,       DD, or      D F below); or
C      D Payment in equal           _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ ___ over a period of
                            (e.g., months or years), to commence _ _ ___ (e.g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal          _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ __ _ over a period of
                           (e.g., months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E      D Payment during the term of supervised release will commence within _ _ _ _ _ (e .g.,        30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the comt has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                               Joint and Several                 Corresponding Payee,
      (including defendant numbe,)                        Total Amount                    Amount                           if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
